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                         United States Court of Appeals
                                                  FOR THE
                                       SECOND CIRCUIT
                                       _________________

        At a stated term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
27th day of February, two thousand twenty-four.

Before:          Pierre N. Leval,
                 Raymond J. Lohier, Jr.,
                 Beth Robinson,
                                Circuit Judges.


Petróleos De Venezuela S.A., PDV Holding, Inc.,
PDVSA Petróleo S.A.,

          Plaintiffs-Counter-Defendants-Appellants,

v.                                                          ORDER
                                                            Docket Nos.    20-3858 (L)
                                                                           20-4127 (Con)
MUFG Union Bank, N.A., GLAS Americas LLC,

          Defendant-Counter-Claimants-Appellees.



        In light of the New York Court of Appeals decision in Petróleos de Venezuela S.A. v.
MUFG Union Bank, N.A., No. 6, -- N.E.3d --, 2024 WL 674251 (N.Y. Feb. 20, 2024), we invite
the parties to file supplemental briefs, not to exceed 7,000 words. Briefs are to be submitted
within twenty-one days from the date of this order.

                                              FOR THE COURT:
                                              Catherine O’Hagan Wolfe, Clerk of Court
